                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                   NORTHERN DIVISION


   FERRYNN. ZENAKIS,

   Plaintiff,

   V.                                                    Case No.

   SOUTHEASTERN EMERGENCY
   PHYSICIANS, LLC,

   Defendant.

                                            COMPLAINT

          NOW COMES Ferryn N. Zenakis, by and through her undersigned counsel, complaining

  of Southeastern Emergency Physicians, LLC as follows:

                                    NATURE OF THE ACTION

          1.     This is an action seeking redress for violations of the Telephone Consumer

  Protection Act ("TCPA"), 47 U.S.C. § 227 et seq.

          2.     The primary purpose of the TCPA was to protect individuals from the harassment,

  invasion of privacy, inconvenience, nuisance, and other harms associated with unsolicited,

  automated calls." Parchman v. SLM Corp., 896 F.3d 728, 738-39 (6th Cir. 2018) citing Telephone

  Consumer Protection Act of 1991, Pub. L. No. 102-243, § 2, 105 Stat. 2394 (1991).

                                              PARTIES

          3.     Ferryn N. Zenakis ("Plaintiff') is a natural person, over 18-years-of-age, who at all

  times relevant resided in Lenoir City, Tennessee.

         4.      Plaintiff is a "person" as defined by 4 7 U .S.C. § 153(39).



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          5.      Southeastern Emergency Physicians, LLC ("Defendant") is a Medical Group that

  has 59 practice medical offices located in 6 states. Defendant specializes in emergency medicine

  and pediatric emergency medicine.

          6.     Defendant maintains its principal place of business in Knoxville, Tennessee.

          7.     Defendant is a "person" as defined by 47 U.S.C. § 153(39).

                                         FACTUAL ALLEGATIONS

          8.     At all times relevant, Plaintiff was the sole operator, possessor, and subscriber of

  the cellular telephone number ending in 1696.

          9.     At all times relevant, Plaintiff's number ending in I 696 was assigned to a cellular

  telephone service as specified in 47 U.S.C. § 227(b)(l)(A)(iii).

          10.    At all times relevant, Plaintiff was financially responsible for her cellular telephone

  equipment and services.

          11.    In February 2021, Plaintiff visited Ft. Lauden Medical Center in Lauden County,

  Tennessee for emergency medical treatment.

          12.    During the visit and after providing Defendant with her insurance information,

  Plaintiff obtained a MRI; however, was told to go home and seek treatment with a Gastrointestinal

  Specialist.

          13.    Plaintiff was charged for the medical visit in the amount of $1,191.00 ("subject

  debt") despite the fact that she was never treated by a physician and was fully insured for her visit.

          14.    In April 2021, Defendant started calling Plaintiff in order to collect upon the subject

  debt.




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          15.      Plaintiff spoke with Defendant and advised them that the subject debt is covered

  through her insurance, World Trip Insurance, and further provided a direct phone number at which

  World Trip Insurance can be reached.

          16.      Despite Plaintiff providing her insurance information to Defendant, Defendant

  failed to contact Plaintiffs insurance provider.

          17.      Shortly thereafter, Plaintiff continued to receive telephone calls from Defendant to

  her cellular phone.

          18.      In the telephone calls that Plaintiff answered, Plaintiff was greeted by a prerecorded

  message advising her to "press one to pay".

          19.      However, Plaintiff did not want to pay on the subject debt as it was covered through

  her insurance.

         20.       Deprived of any other option other than to pay the subject debt, Plaintiff

  disconnected the telephone call.

         21.       In April 2021, Plaintiff placed a telephone call to Defendant.

         22.       During this telephone call, Plaintiff asked Defendant as to why they continued to

  contact her as she previously provided them with her insurance information.

         23.       After explaining the situation and disputing that subject debt was owed by Plaintiff,

  Plaintiff demanded that Defendant cease its collection calls. The representative acknowledged

  Plaintiffs request to cease the telephone calls.

         24.       Despite Plaintiffs request that the collection calls cease and confirmation from

  Defendant's representative, Defendant continued to place pre-recorded collection calls to Plaintiff.

         25.       Furthermore, in the telephone calls in which Plaintiff was unable to answer,

  Defendant left a prerecorded voicemail stating:

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                  "Hi. We're calling from Southeastern Emergency Physicians, LLC
                  to let you know you have a bill ready to view. When you have a
                  minute, please go to pay.teamhealth.com and enter the following bill
                  ID to view your notification: 975174458482. To repeat, the web
                  address is pay.teamhealth.com and the bill ID is 975174458482.
                  When you visit the website you will be able to chat online or
                  alternatively you can call us at 866-293-2688, Monday through
                  Friday from 8:00 a.m. to 8:00 p.m. EST and Saturday from 10:00
                  a.m. to 3:00 p.m. EST. If you have any questions regarding your
                  billing or require any other assistance, we are available to help you.
                  Just so you know, we also offer a zero percent interest payment plan.
                  Thank you and have a wonderful day."

          26.     In total, Defendant has placed no less than 25 pre-recorded collection calls to

  Plaintiff after Plaintiff initially requested that the calls cease.

          27.     Defendant continues to place prerecorded collection calls to Plaintiff to this date.

          28.     Defendant's phone calls are placed from various numbers including, but not limited

  to: (888) 580-2688.

                                                DAMAGES

          29.     Defendant's harassing phone calls have severely disrupted Plaintiffs everyday life

  and overall well-being.

          3 0.    Defendant's phone calls have caused Plaintiff actual harm, including but not limited

  to, aggravation that accompanies persistent and unwanted phone calls, anxiety, emotional distress,

  increased risk of personal injury resulting from the distraction caused by the phone calls, wear and

  tear to Plaintiffs cellular phone, intrusion upon and occupation of Plaintiff's cellular telephone,

  temporary loss of use of Plaintiffs cellular phone, invasion of privacy, loss of battery charge, loss

  of concentration, mental anguish, nuisance, the per-kilowatt electricity costs required to recharge

  Plaintiffs cellular telephone as a result of increased usage of Plaintiffs telephone services, and

  wasting Plaintiffs time.


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          31.    Moreover, each time Defendant placed a telephone call to Plaintiff, Defendant

  occupied Plaintiffs cellular telephone such that Plaintiff was unable to receive other phone calls

  or otherwise utilize his cellular telephone while his phone was ringing.

          32.    Plaintiff was forced to initiate the instant litigation to compel Defendant to cease

  its unlawful conduct.

                                       CLAIMS FOR RELIEF

                                         COUNT I:
                   Telephone Consumer Protection Act (47 U.S.C. § 227 et. seq.)

         33.     All paragraphs of this Complaint are expressly adopted and incorporated herein as

  though fully set forth herein.

         34.     Defendant placed or caused to be placed no less than 25 non-emergency calls,

  including but not limited to the aforementioned collection calls, to Plaintiffs cellular telephone

  utilizing an automatic telephone dialing system ("ATDS") or an artificial or prerecorded voice

  without Plaintiffs consent in violation of 47 U.S.C. §227 (b)(l)(A)(iii).

         35.     As pled above, Defendant utilized an artificial or pre-recorded voice when

  contacting Plaintiff on her cellular telephone.

         36.     The TCPA defines ATDS as "equipment which has the capacity-(A) to store or

  produce telephone numbers to be called, using a random or sequential number generator; and (B)

  to dial such numbers." 47 U.S.C. § 227(a)(l).

         37.     Upon information and belief, based on the lack of human interaction during the

  phone calls in which Plaintiff answered and the pre-recorded messages used by Defendant,

  Defendant used an ATDS to place calls to Plaintiffs cellular phone number.

         38.     As pled above, Plaintiff revoked consent to be called on her cellular phone.


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          39.     As pled above, Plaintiff was harmed by Defendant's incessant collection calls to

  her cellular phone.

          40.     Upon information and belief, Defendant has no system in place to document and

  archive whether it has consent to contact consumers on their cellular phones.

          41.     Upon information and belief, Defendant does not maintain adequate policies and

  procedures that would enable it to effectively process and honor the requests of consumers that the

  collection calls cease.

          42.     Upon information and belief, Defendant knew its collection practices were in

  violation of the TCP A, yet continued to employ them to maximize efficiency and profits.

          43.     As a result of Defendant's violations of 47 U.S.C. §227(b)(l)(A)(iii). Plaintiff is

  entitled to receive $500.00 in damages for each violation.

          44.     As a result of Defendant's knowing and willful violations of 47 U.S.C. §227

  (b )(1 )(A)(iii), Plaintiff is entitled to receive up to $1,500.00 in treble damages for each violation.

          WHEREFORE, Plaintiff requests the following relief:

          A.      a finding that Defendant violated 47 U.S.C. § 227 et seq.;

         B.       an award of statutory damages of at least $500.00 for each and every violation;

          C.      an award of treble damages ofup to $1,500.00 for each and every violation; and

         D.       an award of such other relief as this Court deems just and proper.




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  DATED: April 27, 2022                       Respectfully submitted,

                                              FERRYN N. ZENAKIS

                                              By: Isl Marwan R. Daher

                                              Marwan R. Daher. Esq.
                                              Sulaiman Law Group, Ltd.
                                              2500 South Highland A venue
                                              Suite 200
                                              Lombard, Illinois 60148
                                              (630) 575-8181
                                              mdaher@sulaimanlaw.com




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